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            NUMBERS 13-15-00577-CR, 13-15-00578-CR, 13-15-00579-CR,
                      13-15-00580-CR &amp; 13-15-00581-CR

	COURT OF APPEALS

	THIRTEENTH DISTRICT OF TEXAS

	CORPUS CHRISTI - EDINBURG 
____________________________________________________________

DAVID SHELLY,	APPELLANT,

	v.

THE STATE OF TEXAS,	APPELLEE.
____________________________________________________________

	On appeal from the 94th District Court
	of Nueces County, Texas.
____________________________________________________________

	ORDER OF ABATEMENT

	Before Justices Benavides, Perkes, and Longoria
                               Order Per Curiam

Appellant, David Shelly, has filed a notice of appeal with this Court from his convictions in trial court cause numbers 15CR2078-C, 15-CR-1660-C, 15CR1659-C,   15-CR-0885-C, and 15CR526-C.  The trial court's certifications of the defendant's right to appeal shows that the defendant does not have the right to appeal.  See Tex. R. App. P. 25.2(a)(2).  

On February 23, 2016, we ordered appellant's counsel, Ruben Lerma Jr., to, within thirty days, review the record and advise this Court as to whether appellant has a right to appeal.  See Tex. R. App. P. 44.3, 44.4.  No response to this Court's order has been received.  Therefore, we ABATE this appeal and REMAND this cause to the trial court for a hearing to determine why counsel has failed to comply with this Court's order.  The trial court's findings and conclusions shall be included in a supplemental clerk's record.  The trial court shall file the supplemental clerk's record and reporter's record, if any, with the Clerk of this Court within thirty days of the date of this order.
If the trial court determines that counsel is unable to represent appellant in this matter, the trial court shall conduct a hearing to determine whether appellant desires to prosecute the appeal, whether appellant is indigent, and whether appellant is entitled to appointed counsel.  See Penson v. Ohio, 488 U.S. 75, 83-84 (1988); Stafford v. State, 813 S.W.2d 503, 511 (Tex. Crim. App. 1991).  We further direct the trial court to issue findings of fact and conclusions of law regarding these issues.  Should the trial court find that appellant desires to pursue this appeal, is indigent, and is entitled to appointed counsel, the trial court shall appoint counsel.  If counsel is appointed, the name, address, email address, telephone number, and state bar number of said counsel shall be included in the trial court's findings of fact and conclusions of law.	

PER CURIAM
Do not publish.
Tex. R. App. P. 47.2(b).

Delivered and filed the 
20[th] day of April, 2016.


